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                 UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF GEORGIA (Atlanta)

NANCY SNYDER                           :
                                       :
             v.                        :       NO. 1:18-cv-03254
                                       :
DELTA AIR LINES, INC.                  :


                                      ORDER

      AND NOW, this ________________ day of ___________, 2018, upon

consideration of Defendant, Delta Air Lines, Inc.’s Motion to Dismiss Plaintiff’s

First Amended Complaint, and Plaintiff, Nancy Snyder’s Response in Opposition

thereto, it is hereby ORDERED and DECREED that Defendant’s Motion to

Dismiss is DENIED.

      It is further ORDERED and DECREED that Defendant, Delta Air Lines,

Inc. shall file an Answer within twenty (20) days of the date of this Order.

                                               BY THE COURT:



                                               _____________________________
                                               U.S.D.J.




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                 UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF GEORGIA (Atlanta)

NANCY SNYDER                           :
                                       :
             v.                        :       NO. 1:18-cv-03254
                                       :
DELTA AIR LINES, INC.                  :


  PLAINTIFF, NANCY SNYDER’S RESPONSE IN OPPOSITION TO
           DEFENDANT, DELTA AIR LINES, INC.’S
 MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT

      Incorporating by reference Plaintiff’s attached Memorandum of Law,

Plaintiff, Nancy Snyder, by and through her undersigned counsel, respectfully

requests this Honorable Court deny Defendant, Delta Air Lines, Inc.’s Motion to

Dismiss Plaintiff’s First Amended Complaint, or, in the alternative, grant Plaintiff

leave to amend her Complaint.

      WHEREFORE, Plaintiff, Nancy Snyder, respectfully requests this

Honorable Court enter the attached Order denying Defendant, Delta Air Lines,

Inc.’s Motion to Dismiss Plaintiff’s First Amended Complaint.

                                           Respectfully submitted,

                                           FRIED & BONDER, LLC

                                           /s/ Joseph A. White
                                           Joseph A. White
                                           Georgia Bar No. 754315
                                           Fried & Bonder, LLC
                                           White Provision, Suite 305

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                   UNITED STATES DISTRICT COURT
                NORTHERN DISTRICT OF GEORGIA (Atlanta)

NANCY SNYDER                           :
                                       :
              v.                       :       NO. 1:18-cv-03254
                                       :
DELTA AIR LINES, INC.                  :


       PLAINTIFF, NANCY SNYDER’S MEMORANDUM OF LAW IN
       SUPPORT OF PLAINTIFF’S RESPONSE IN OPPOSITION TO
               DEFENDANT, DELTA AIR LINES, INC.’S
     MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT


        Plaintiff, Nancy Snyder, by and through her undersigned attorneys, hereby

provides her Memorandum of Law in Support of her Response in Opposition to

Defendant, Delta Air Lines, Inc.’s Motion to Dismiss Plaintiff’s First Amended

Complaint (“Pl. Oper. Compl.”) as follows:

I.      OPERATIVE FACTS

        Plaintiff, Nancy Snyder, is an adult individual who was employed by

Defendant, Delta Air Lines, as a flight attendant based out of Atlanta, Georgia. See

Pl. Oper. Compl., ¶ 2. Plaintiff has been employed with Delta since on or about

March 12, 2000. Id. A loyal flight attendant for over 18 years, Plaintiff always

provided her customers with exceptional service. See Pl. Oper. Compl., ¶ 8. In

2017, Plaintiff’s salary was approximately $100,000 per year. Upon information




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and belief, Delta could hire at least 3-4 first time flight attendants for the same

amount of money they were paying Plaintiff yearly. See Pl. Oper. Compl., ¶ 44.

      In April 2017, Plaintiff was returning home from working a Lima, Peru

flight when she was “randomly selected” for drug testing. See Pl. Oper. Compl., ¶

9. When Plaintiff arrived at the lab for testing, it was crowded as many employees

were being tested that morning. See Pl. Oper. Compl., ¶ 10. Plaintiff was first

given an alcohol test which came back negative. See Pl. Oper. Compl., ¶ 11.

Plaintiff then gave a urine sample for drug testing. See Pl. Oper. Compl., ¶ 12.

      After providing her sample, Plaintiff’s sample was put into two sealed tubes

by the lab technician. See Pl. Oper. Compl., ¶ 13. As Plaintiff was washing her

hands and preparing to leave, the lab technician intentionally broke the seal on one

of the tubes and stated to Plaintiff that she had to change the tube. See Pl. Oper.

Compl., ¶ 14. Plaintiff picked up a new tube, handed it to the technician and left.

See Pl. Oper. Compl., ¶ 15. Plaintiff did not initial the new tube, nor was she

requested to, pursuant to 49 CFR § 40.73(a)(1). See Pl. Oper. Compl., ¶ 21. The

technician’s intentional switching of the vials was at the direction of Delta to

create pretext for the termination of Plaintiff. See Pl. Oper. Compl., ¶ 16.

Following the intentional switching of the vials – which occurred after Plaintiff

initialed the vials assuring their authenticity – the technician-collector intentionally




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contaminated the vial causing the test to provide a false negative without evidence

that the vial had been post-contaminated. See Pl. Oper. Compl., ¶ 21.

      Pursuant to DOT Rule 49 CFR Part 40, Section 40.71, Subpart E – Urine

Specimen Collections, there is no provision allowing for switching a vial in a split

test after the urine has already been separated into two vials. See Pl. Oper. Compl.,

¶ 17. Delta intentionally failed to comply with the collection process and then

intentionally refused to correct the failed process in order to intentionally create

pretext for the termination of Plaintiff. See Pl. Oper. Compl., ¶ 18.

      On April 25, 2017, Plaintiff received a telephone call informing her that her

test results came back positive for cocaine. See Pl. Oper. Compl., ¶ 19. Plaintiff

was shocked as she had never used cocaine. See Pl. Oper. Compl., ¶ 20. Plaintiff

immediately emailed her supervisor, explaining what happened and requesting a

retest. See Pl. Oper. Compl., ¶ 22. The next day on April 26, 2017, Plaintiff arrived

at work and was informed that she was being suspended without pay pending an

investigation. See Pl. Oper. Compl., ¶ 23. This was extremely upsetting and

stressful to Plaintiff as she had not taken any drugs. See Pl. Oper. Compl., ¶ 24.

      Wanting to get to the bottom of this, Plaintiff visited her primary care

physician on April 27, 2017 and requested a drug screening to provide to Delta.

Plaintiff took a urine test which came back negative for cocaine. See Pl. Oper.

Compl., ¶ 25.


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      Plaintiff also underwent a hair strand drug test on April 29, 2017, since a

hair strand test will come back positive for cocaine used in an approximate 90-day

period preceding the test. See Pl. Oper. Compl., ¶ 26.

      On April 29, 2017, Plaintiff contacted Delta to advise the company of the

results of her urine test and inform it that she had also obtained a hair strand test.

See Pl. Oper. Compl., ¶ 27. Delta informed Plaintiff that it did not have to accept

these test results and that it was already considering terminating her. Id. This

caused Plaintiff significant stress and anxiety as her career was at stake and she

had not done anything wrong. See Pl. Oper. Compl., ¶ 28.

      On May 3, 2017, Plaintiff’s hair strand test came back negative for cocaine.

See Pl. Oper. Compl., ¶ 29. On May 3, 2017, Plaintiff voluntarily underwent a

blood test and another hair strand test at another lab in order to provide Delta

definitive proof that she did not use cocaine. See Pl. Oper. Compl., ¶ 30. On that

same date, Plaintiff contacted Delta again to inform the company of the results of

her first hair strand test and requesting information regarding the review process of

her inaccurate drug test. See Pl. Oper. Compl., ¶ 31. On May 8, 2017, second hair

and blood screen came back negative for any type of drug use including cocaine.

See Pl. Oper. Compl., ¶ 32.

      Despite Plaintiff’s negative drug tests, she was terminated from Delta on or

about May 17, 2017. See Pl. Oper. Compl., ¶ 33. The firing of Plaintiff was an act


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of discrimination, with no valid business purpose or justification. See Pl. Oper.

Compl., ¶ 34.

      Delta terminated Plaintiff for allegedly failing a drug test, but this was a

pretext for discrimination because Plaintiff had not used any drugs and had four

follow-up drug screens to prove it. See Pl. Oper. Compl., ¶ 35. The real reason was

part of Delta's pattern and intent to discriminate against, discipline, discourage and

terminate Plaintiff due to her age of 63 years old. Id.

      Upon information and belief, Delta Air Lines has engaged in an illegal

pattern and practice of intentionally discriminating and retaliating against senior

employees based upon their age. See Pl. Oper. Compl., ¶ 36. Delta has publicly

stated that it is turning its attention to millennials, those born from the early 1980’s

to the late 1990’s. See Pl. Oper. Compl., ¶ 37. Delta’s CEO, Edward Bastian, has

said by 2020, half of Delta’s customers will be millennials and it is anticipated that

Delta’s employees will mirror the same balance. Is.

      Delta has engaged in a pattern and practice of using pretextual, embellished

or untruthful allegations to terminate flight attendants who are over 40 years old.

See Pl. Oper. Compl., ¶ 38. Delta targets older workers with drug tests that are

supposed to be random, but are not, and are in fact targeted at older workers in

order to intentionally harass them. See Pl. Oper. Compl., ¶ 39. Bastian stated

during a 2016 interview, “There’s no question that the face of Delta’s employees is


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changing, it’s becoming younger…. We have got to stay ahead of that change and

make certain our product and our service offerings are fresh.” Delta News Hub,

May 2, 2016. See Pl. Oper. Compl., ¶ 40. Delta’s website, called DeltaNet

highlighted its commitment to hiring a younger workforce, with a large headline:

“Delta commits to hire young American workers for ‘First Job’.” See Pl. Oper.

Compl., ¶ 41.

      However, Delta has no plans of expanding its total number of flight

attendants. See Pl. Oper. Compl., ¶ 42. Delta is not in a position to hire a large

number of employees to fulfill their millennial goals without removing a

significant number of Delta’s senior employee pool. See Pl. Oper. Compl., ¶ 43.

This means that Delta’s older employees will have to leave their employment

either voluntarily or involuntarily. Id. Upon information and belief, Delta has a de

facto policy of terminating or disciplining older employees due to perceived or

manufactured infractions of company rules. See Pl. Oper. Compl., ¶ 46.

      In 2017, Delta released a reality show called “Earning Our Wings” about

becoming a flight attendant. See Pl. Oper. Compl., ¶ 45. Upon information and

belief, one of the motivations for this show was to attract younger “millennial”

employee applicants. Id.

      Upon information and belief, Delta fails to investigate allegations of actual

fraud or impropriety with regard to drug tests for older workers, due to the


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pretextual desire to terminate older workers because of their age. See Pl. Oper.

Compl., ¶ 47. For instance, with regard to Plaintiff, instead of investigating her

allegation that the Delta urine collection impermissibly unsealed her urine vial and

switched vials, Delta has refused to correct or look into same, or to admit or

declare the test invalid – particularly in the face of such exonerating evidence –

due to a pretextual desire to terminate Plaintiff as a senior Flight Attendant. Id.

      Upon information and belief, from publicly available sources:

      a.     Delta’s most recent incoming classes of flight attendants have been

      predominantly under 30 years old.

      b.     Upon information and belief, a Delta flight attendant based in Detroit,

      “Employee A”, who flies throughout the system, observed that the ages of

      flight attendants was going down, mostly because incoming classes were

      predominantly young people.

      c.     Employee A felt that it was obvious that Delta was getting rid of older

      flight attendants so they could be replaced by younger ones.

      d.     Employee A learned of multiple cases where older Delta employees

      were terminated for false reasons or trivial reasons that would not have

      warranted termination in past years.

      e.     Employee A is over 40 years old and began working as a flight

      attendant for Northwest Airlines before its merger with Delta in 1979. Based


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 upon her observation (and pursuant to the flight attendant seniority lists that

 she has seen) the total number of flight attendants in the employ of Delta Air

 Lines has not been expanding -- yet young flight attendants now dominate

 the incoming ranks. Employee A further stated this means that Delta is

 replacing older flight attendants in increments. Older flight attendants are

 being phased out -- by forced retirement and involuntary termination -- in

 favor of younger flight attendants, according to said Employee A.

 f.    The EEOC’s Miami office is investigating claims of age

 discrimination by Delta Air Lines in which the corporation fired or forced

 out older flight attendants. The victims have claimed false, exaggerated or

 pretextual reasons for the adverse actions against them.

 g.    Another Delta Flight Attendant, “Employee B,” who was first hired as

 a flight attendant in 1978 with Northwest Airlines prior to its merger with

 Delta, is 74 years old. According to her sworn EEOC charge, she was forced

 to retire for an alleged violation of company policy, which alleged violation

 “had not caused the termination of younger employees. Thus, I was forced to

 resign (retire) because of my age.” Employee B’s EEOC charge included a

 formal charge of age discrimination.

 h.    Employee B’s sworn EEOC charge, stated, further, that, “I think there

 is a provable trend at Delta to rejuvenate its work force, i.e. make it younger.


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 What I mean by that is that it is terminating (or forcing termination of) older

 employees upon false or trivial accusations or at least accusations that

 previously would have warranted lesser discipline, such as letters of

 reprimand and/or suspensions. What this means is that older employees are

 being let go or forced out and replaced with younger employees earning

 fractionally less than their predecessors. Delta is even resorting to false or

 exaggerated allegations.” Thus, the complainant identified age

 discrimination and pretext in the reasons selected to fire her.

 i.    According to the EEOC charge of another Delta flight attendant,

 “Employee C”, he was over 40 years old when fired from Delta and alleged

 in his EEOC charge that the company committed age discrimination against

 him. He claimed that, “there is a provable trend at Delta to ‘rejuvenate’ its

 work force, i.e. make it younger. What I mean by that is that it is terminating

 older employees upon false or trivial accusations or at least accusations that

 previously would have warranted lesser discipline, such as letters or

 reprimand and/or suspensions.” Thus, the complainant identified age

 discrimination and pretext in the reasons selected to fire him.

 j.    According to another EEOC charge, with similar accusations, Delta is

 getting rid of older flight attendants to make room for young ones, thus, age

 discrimination had been committed, according to the sworn EEOC charge.


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      The complainant was 67 years old when fired for reasons that he claimed

      under oath would not have caused termination previously. This was done to

      make room for young flight attendants. He had worked for Delta and

      Northwest Airlines as a flight attendant since 1987. Thus, the complainant

      identified age discrimination and pretext in the reasons selected to fire him.

      k.     Upon information and belief, according to allegations in federal court

      pleadings, several other Delta flight attendants have also noted the trend of

      getting rid of older flight attendants to be replaced by young ones. One

      stated that all new hires as flight attendants are in their mid-20s and early

      30s. Another stated that Delta Air Lines was obviously moving to terminate

      its older flight attendants to make room for new ones who were completing

      their training classes. Trivial reasons were selected to force out older flight

      attendants, which reasons would not have caused significant discipline at all

      in prior years, they informed plaintiff.

See Pl. Oper. Compl., ¶ 48.

      The firing of Plaintiff was pretextual. See Pl. Oper. Compl., ¶ 49. Plaintiff

had an exceptional work record, and never violated any Delta policies. Id. She had

a great reputation with her customers. Id. Plaintiff’s termination was pretextual for

age discrimination. Id.




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       Plaintiff has exhausted said remedies after filing with the EEOC and other

state agencies and has obtained a right-to-sue letter. See Pl. Oper. Compl., ¶ 50.

This action is filed within 90 days of the receipt of Plaintiff’s right to sue letter

from the EEOC. Id. At some point prior to April 15, 2018, the EEOC sent Plaintiff

her right-to-sue letter via U.S. Mail with a tracking number. See Pl. Oper. Compl.,

¶ 51. However, Plaintiff never received the mailed letter and tracking number

provided by the EEOC continues to show that the letter is in “transit.” Id.

Nonetheless, Plaintiff’s daughter – and then acting attorney – received the right-to-

sue letter on behalf of Plaintiff from the EEOC via email from the EEOC on April

15, 2018. See Pl. Oper. Compl., ¶ 52.

II.    STANDARD

       A.    MOTION TO DISMISS:

       In reviewing a Motion to Dismiss under Rule 12(b), the Court must “accept

as true the factual allegations” in operative complaint and “construe the facts in the

light most favorable to plaintiff as the non-moving party.” Kirwin v. Price Commc'ns

Corp., 391 F.3d 1323, 1325 (11th Cir. 2004) citing Chepstow Ltd. v. Hunt, 381 F.3d

1077, 1080 (11th Cir.2004) (citation omitted). The Court may only grant a Motion

to Dismiss when a defendant demonstrates “beyond doubt that the plaintiff can prove

no set of facts in support of his claim which would entitle him to relief.” Id. citing

Harper v. Blockbuster Entm't Corp., 139 F.3d 1385, 1387 (11th Cir.1998) (internal


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quotation and citation omitted). In fact, a Plaintiff need not plead any causes of

action (merely facts with request for relief). See 2 James Wm. Moore et al., Moore's

Federal Practice P 8.04[3].

        B.    AMENDED PLEADING

        A Plaintiff should be provided an opportunity to amend her complaint if it

appears that the deficiencies can be corrected. See, 2A J. Moore, Moore’s Federal

Practice ¶12.07 [2.-5], P.12-99 (2d ed. 1994); accord, FRCP 15(a)(2) (The Court

should freely give leave to amend a Complaint “when justice so requires.”).

        C.    CONCLUSION: STANDARD

        When applying the correct standard, Plaintiff’s Operative Complaint

sufficiently states specific facts supporting a claim for violations of the Age

Discrimination in Employment Act and Florida Civil Rights Act against

Defendant, Delta Air Lines, Inc. and Defendant’s Motion should be denied. In the

alternative, Plaintiff should be granted leave to amend as this Honorable Court is,

respectfully, directed to allow. Otherwise, state law claims should be dismissed

without prejudice to the state court.

III.    ARGUMENT

        A.    PLAINTIFF PLED SUFFICIENT FACTS TO SHOW THE
              COLLECTOR INTENTIONALLY COLLECTED THE
              SPECIMINS IN VIOLATION OF THE LAW CONCERNING
              FAA DRUG TESTS, RENDERING THE RESULTS BARRED
              FROM CONSIDERATION.

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      Plaintiff, Nancy Snyder, pled sufficient facts to show the collector

intentionally collected the specimens in violation of the law concerning FAA drug

tests rendering the results barred from consideration, particularly when accepting

all factual allegations as true and construing the Plaintiff’s Operative Complaint in

the light most favorable to Plaintiff. See generally Pl. Oper. Compl. See also

Kirwin, 391 F.3d at 1325 (citation omitted). See also 49 CFR § 40.151.

      FAA regulations set forth a comprehensive scheme regarding FAA drug

tests. See MN Airlines, Inc. v. Levander, 2015 U.S. Dist. LEXIS 114251 * 3 (D.

Minn Aug. 28, 2015). The collector violated the FAA’s comprehensive scheme in

two material ways.

      First, the collector was required by law to handle the collected specimen in a

very specific way. See 49 CFR § 40.71(b). The FAA’s comprehensive scheme

dictates the exact milli-liters of specimen to collect; the order in which to place the

specimen in vials; and the procedure to seal each bottle. Id. Here, when applying

the appropriate standard, the collector intentionally broke the seal on one of the

tubes and stated to Plaintiff that she had to change the tube. See Pl. Oper. Compl., ¶

14. There is no procedure or regulation in FAA’s comprehensive scheme for then

pouring the specimen into another tube. Rather than violating FAA’s

comprehensive scheme for the collection of the specimen, the collector was

required to start the entire process over.


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      Second, FAA’s comprehensive scheme requires the collector to seal the

specimen vials in the employees’ presence and have the employee “initial the

tamper-evident bottle seals for the purpose of certifying that the bottles contain the

specimens he or she provided.” See 49 CFR § 40.71(b). Here, when applying the

appropriate standard, the collector failed to secure the specimen in Plaintiff’s

presence or have Plaintiff initial the tamper-evident bottle seal on the new vial. See

Pl. Oper. Compl., ¶ 15, 21.

      Despite knowledge of the two previous material violations of the FAA’s

comprehensive scheme, (see Pl. Oper. Compl., ¶ 22), Defendant, Delta Air Lines,

Inc. intentionally violated the FAA regulations by considering the results of the

contaminated urine sample that were not collected in accordance with FAA

regulations. See 49 CFR § 40.151. (“You must not consider any evidence from

tests of urine sample or other bodily fluids or tissues (e.g., blood or hair samples)

that are not collected or tested in accordance with this part.”). In other words, upon

learning that the collector failed to follow the FAA regulations on specimen

collection, Defendant was barred by law from considering the results.

      B.     PLAINTIFF APPROPRIATEY PLED SUFFICIENT FACTS TO
             SUPPORT A CLAIM UNDER THE AGE DISCRIMINATION
             IN EXPLOYMENT ACT.

      Plaintiff, Nancy Snyder, pled sufficient facts to support a claim under the

Age Discrimination in Employment Act (“ADEA”), particularly when accepting


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all factual allegations as true and construing the Plaintiff’s Operative Complaint in

the light most favorable to Plaintiff. See generally Pl. Oper. Compl. See also

Kirwin, 391 F.3d at 1325 (citation omitted).

      When accepting the factual allegations as true and construing the Plaintiff’s

Operative Complaint in the light most favorable to Plaintiff, Defendant was barred

by law from considering the results of the urine sample as the specimen were not

taken in accordance with FAA regulations. See Section A above. In conformity

with its current modus operandi in an attempt to make its work force younger,

Defendant ignored the law and violations of the FAA regulations concerning

specimen collection in order to create pre-text to fire Plaintiff, an older and well-

paid employee. See Pl. Oper. Compl., ¶¶ 35-49. Defendant’s attempts to apply a

contra-standard must be ignored. See also Kirwin, 391 F.3d at 1325 (citation

omitted). As Plaintiff pled sufficient facts to support a claim under the Age

Discrimination in Employment Act, Defendant’s Motion should be denied.

             1.     PLAINTIFF APPROPRIATEY PLED SUFFICIENT
                    FACTS TO DEMONSTRATE THAT SHE TIMELY
                    FILED THIS MATTER.

      Plaintiff appropriately pled sufficient facts to demonstrate that she timely

filed this matter, particularly when accepting all factual allegations as true and

construing the Plaintiff’s Operative Complaint in the light most favorable to

Plaintiff. See Pl. Oper. Compl., ¶¶ 50-52. See also Kirwin, 391 F.3d at 1325


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(citation omitted). It is well established (and admitted in Defendant’s

Memorandum) that an ADEA claim must be filed within 90 days of receipt of the

EEOC right to sue letter (“RTS”).

      Here, Plaintiff filed with ADEA claim within 90 days of receipt of the

EEOC right to sue letter. See Pl. Oper. Compl., ¶¶ 50-52. Plaintiff pled that

although the EEOC mailed the RTS to her prior to April 15, 2018, Plaintiff never

received the letter. See Pl. Oper. Compl., ¶ 51. In fact, the tracking number

provided by the EEOC continues to show that the letter is in “transit.” Id. Instead,

Plaintiff’s daughter – and then acting attorney – received the right-to-sue letter on

behalf of Plaintiff from the EEOC via email from the EEOC on April 15, 2018. Id.

This Honorable Court must accept these well-pled factual averments as true. See

also Kirwin, 391 F.3d at 1325 (citation omitted). As such, Plaintiff was required to

file this action by July 14, 2018. As this action was initiated on July 6, 2018, it was

timely and Defendant’s Motion should be denied.

      C.     PLAINTIFF APPROPRIATEY PLED SUFFICIENT FACTS TO
             SUPPORT A CLAIM UNDER THE FLORIDA CIVIL RIGHTS
             ACT.

      Plaintiff, Nancy Snyder, pled sufficient facts to support a claim under the

Florida Civil Rights Act (“FCRA”), particularly when accepting all factual

allegations as true and construing the Plaintiff’s Operative Complaint in the light




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most favorable to Plaintiff. See generally Pl. Oper. Compl. See also Kirwin, 391

F.3d at 1325 (citation omitted).

       First, the FCRA is timely for the same reasons set forth in Section B(1)

above. Second, Plaintiff suffered the well-pled age discrimination as articulated in

Section B above. Third, the FCRA is applicable to this matter as the termination

communication was made in Florida. See Pl. Oper. Compl., ¶ 74. As Plaintiff pled

sufficient facts to support a claim under the FCRA, Defendant’s Motion should be

denied.

       D.    PLAINTIFF’S REQUEST TO AMEND IF NECESSARY.

       To the extent this Honorable Court finds Plaintiff’s Operative Complaint

defective, Plaintiff respectfully requests leave to amend to “provide further

specifics” concerning Defendant’s discrimination. See, 2A J. Moore, Moore’s

Federal Practice ¶12.07 [2.-5], P.12-99 (2d ed. 1994); accord, FRCP 15(a)(2).

IV.    CONCESSIONS

       Plaintiff respectfully withdraws Count III (Hostile Work Environment),

Count IV (Violation of Title VII), and Count V (Wrongful Termination in

Violation of Public Policy).

V.     CONCLUSION

       For the foregoing reasons, Plaintiff, Nancy Snyder, respectfully requests this

Honorable Court enter the attached Order denying Defendant, Delta Air Lines,


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Inc.’s Motion to Dismiss Plaintiff’s First Amended Complaint, or, in the

alternative, grant Plaintiff leave to amend her Complaint.

      WHEREFORE, Plaintiff, Nancy Snyder, respectfully requests this

Honorable Court enter the attached Order denying Defendant, Delta Air Lines,

Inc.’s Motion to Dismiss Plaintiff’s First Amended Complaint.

                                         Respectfully submitted,

                                         FRIED & BONDER, LLC

                                         /s/ Joseph A. White
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                                 WEISBERG LAW

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                 UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF GEORGIA (Atlanta)

NANCY SNYDER                           :
                                       :
            v.                         :        NO. 1:18-cv-03254
                                       :
DELTA AIR LINES, INC.                  :


                         CERTIFICATE OF SERVICE

      I, Matthew B. Weisberg, Esquire, hereby certify that on this 2nd day of

October, 2018, a true and correct copy of the foregoing Plaintiffs’ Response in

Opposition to Defendant’s Motion to Dismiss, and Plaintiff’s Memorandum of

Law in support thereof was served via ECF upon the following parties:

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